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                                                                                     APPEAL,HABEAS
                                  U.S. District Court
                           District of Vermont (Burlington)
                   CIVIL DOCKET FOR CASE #: 2:25−cv−00374−wks

Ozturk v. Hyde et al                                           Date Filed: 04/04/2025
Assigned to: Judge William K. Sessions III                     Jury Demand: None
Case in other court: Massachusetts, 1:25−cv−10695              Nature of Suit: 530 Habeas Corpus
Cause: 8:1182 Defend. Denial of Pla. Appl. for Alien           (General)
Employment Cer                                                 Jurisdiction: U.S. Government Defendant
Petitioner
Rumeysa Ozturk                                   represented by Adriana Lafaille , Esq.
                                                                ACLU Foundation of Massachusetts, Inc.
                                                                One Center Plaza, Suite 850
                                                                Boston, MA 02108
                                                                617−482−3170
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                                                                ATTORNEY TO BE NOTICED

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V.
Respondent
Patricia Hyde                             represented by Mark Sauter , AUSA
Field Office Director                                    U.S. Department of Justice
                                                         Suite 9200
                                                         One Courthouse Way
                                                         Boston, MA 02169
                                                         617−748−3347
                                                         TERMINATED: 05/06/2025

                                                        Michael P. Drescher , AUSA
                                                        United States Attorney's Office
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                                                        Burlington, VT 05402−0570
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Respondent
Michael Krol                              represented by Mark Sauter , AUSA
HSI New England Special Agent in                         (See above for address)
Charge                                                   TERMINATED: 05/06/2025

                                                        Michael P. Drescher , AUSA
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Respondent
Todd Lyons                                represented by Mark Sauter , AUSA
Acting Director U.S. Immigration and                     (See above for address)
Customs Enforcement                                      TERMINATED: 05/06/2025

                                                        Michael P. Drescher , AUSA
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                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

    Respondent
    Kristi Noem                                    represented by Mark Sauter , AUSA
    Secretary of Homeland Security                                (See above for address)
                                                                  TERMINATED: 05/06/2025

                                                                  Michael P. Drescher , AUSA
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

    Respondent
    Donald J Trump                                 represented by Mark Sauter , AUSA
                                                                  (See above for address)
                                                                  TERMINATED: 05/06/2025

                                                                  Michael P. Drescher , AUSA
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

    Respondent
    Marco A. Rubio                                 represented by Mark Sauter , AUSA
                                                                  (See above for address)
                                                                  TERMINATED: 05/06/2025

                                                                  Michael P. Drescher , AUSA
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

    Amicus
    Brett F Stokes                                 represented by Brett F. Stokes , Esq.
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    Amicus
    The Cato Institute                             represented by James M. Diaz , Esq.
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                                                                  Email: jay@waterburystowelaw.com
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    Material Witness
    Becky Penberthy


Date Filed    #   Docket Text
04/28/2025 113 TRANSMITTED Index on Appeal, Circuit No. 25−1019, re: 105 Notice of Appeal (Attachments: #
               1 Docket Sheet (public), # 2 Docket Sheet (sealed), # 3 Clerk's Certification)(kac) (Entered:
               04/28/2025)
04/28/2025 114 NOTICE of Hearing re: 1 Petition for Writ of Habeas Corpus (2241). Hearing set for 5/22/2025 at
               09:00 AM in Burlington Courtroom 110 before Judge William K. Sessions III.(law) (Entered:
            2:25-cv-00374-wks         Document 147-1            Filed 05/28/25        Page 6 of 8

                  04/28/2025)
04/28/2025 115 UNOPPOSED MOTION for Leave to File Brief as Amicus Curiae in Support of Petitioner filed by
               Foundation for Individual Rights and Expression, National Coalition Against Censorship, The
               Rutherford Institute, PEN America, The Cato Institute, First Amendment Lawyers Association.
               (Attachments: # 1 Proposed Brief)(Diaz, James) Text clarified on 4/29/2025 (law). (Entered:
               04/28/2025)
04/28/2025 116 UNOPPOSED MOTION for Appearance Pro Hac Vice of Naz Ahmad (Filing fee $ 150 receipt
               number AVTDC−2066895) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of Naz Ahmad, #
               2 Certificate of Good Standing) (Ernst, Lia) Modified on 4/29/2025 to clarify text/attachment (sjl).
               (Entered: 04/28/2025)
04/28/2025 118 ORDER of USCA, Circuit No. 25−1019, as to 104 Order: motion for a stay pending appeal is
               referred to the three−judge motions panel sitting on May 6, 2025. An administrative stay of the
               district court's order to transfer is granted pending decision by the panel. (kac) (Entered:
               04/29/2025)
04/29/2025 117 ORDER granting 116 Unopposed Motion for Admission Pro Hac Vice of Naz Ahmad. Signed by
               Judge William K. Sessions III on 4/29/2025. (This is a text−only Order.) (eae) (Entered:
               04/29/2025)
04/29/2025 119 UNOPPOSED MOTION for Appearance Pro Hac Vice of Conor Fitzpatrick (Filing fee $ 150
               receipt number AVTDC−2067806) filed by Foundation for Individual Rights and Expression
               (Attachments: # 1 Declaration of Conor Fitzpatrick, # 2 Certificate of Good Standing) (Diaz,
               James) Modified on 4/30/2025 to clarify text/attachment (sjl). (Entered: 04/29/2025)
04/30/2025 120 ORDER granting 119 Unopposed Motion for Admission Pro Hac Vice of Conor Fitzpatrick.
               Signed by Judge William K. Sessions III on 4/30/2025. (This is a text−only Order.) (eae) (Entered:
               04/30/2025)
05/02/2025 121 MOTION to Withdraw as Attorney filed by Ansche Chesed, Bend the Arc: A Jewish Partnership
               for Justice, B'nai Jeshurun, Congregation Beth Elohim, Congregation Dorshei Tzedek, Habonim
               Dror, Harvard Jewish Progressive Alumni, IKAR, J Street, Jewish Center for Justice, Jewish Labor
               Committee, Keshet, Leo Baeck Temple, Ma'yan Tikvah, New England Jewish Labor Committee,
               New Israel Fund, New Jewish Narrative, Nexus Project, T'ruah: The Rabbinic Call for Human
               Rights, Massachusetts, The Boston Workers Circle, The Reconstructionist Rabbinical Assoc, The
               Workers Circle, Worcester Havurah, Jewish Alliance for Law and Social Action, New York Jewish
               Agenda, Temple Emanu−El, Temple Micah. (Feitel, Jesse) (Entered: 05/02/2025)
05/02/2025 122 SUPPLEMENTAL MEMORANDUM re: 82 MOTION for Release Under MAPP v. RENO or in
               the Alternative MOTION for Return to Vermont filed by Rumeysa Ozturk. (Attachments: # 1 Index
               of Exhibits, # 2 Exhibit 1, # 3 Exhibit 1−A, # 4 Exhibit 1−B, # 5 Exhibit 1−C, # 6 Exhibit 1−D, # 7
               Exhibit 1−E, # 8 Exhibit 1−F, # 9 Exhibit 1−G, # 10 Exhibit 1−H, # 11 Exhibit 1−I)(Bava, Julian)
               Text clarified on 5/4/2025 (law). (Entered: 05/02/2025)
05/07/2025 123 ORDER of USCA, Circuit No. 25−1019, as to 105 Notice of Appeal; govt's motion for a stay of
               transfer is DENIED. Govt's request for a writ of mandamus is DENIED. Administrative stay
               entered by Circuit Court is VACATED. Govt is ORDERED to comply with district court's transfer
               order within one week of date of this opinion. Circuit Court orders that Ms. Ozturk be physically
               transferred to ICE custody within the District of Vermont no later than May 14, 2025. The district
               court may amend its hearing schedule as it deems necessary in light of this order. (kac) (Entered:
               05/07/2025)
05/08/2025 124 REVISED NOTICE of Hearing (same date/time): Status Conference set for 5/9/2025 at 09:30 AM
               in Burlington Courtroom 110 before Judge William K. Sessions III.(law) (Entered: 05/08/2025)
05/08/2025 125 NOTICE of Hearing: Telephone Conference set for 5/8/2025 at 10:00 AM before Judge Kevin J.
               Doyle. (law) (see page 2 of the notice for Zoom information − audio only)

                  Please be reminded that Judicial Conference policy prohibits the broadcasting of proceedings in
                  federal courts. Persons granted remote access to proceedings are reminded of the general
                  prohibition against photographing, recording, or rebroadcasting of court proceedings pursuant to
                  Judicial Conference policy. This prohibition applies to counsel, the parties, the media and any
                  member of the public. Violation of these prohibitions may result in sanctions, including removal of
                  court issued media credentials, restricted entry to future hearings, denial of entry to future hearings,
                  or any other sanctions deemed necessary by the court.
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                  Join ZoomGov Meeting
                  https://vt−uscourts.zoomgov.com/j/1617910049?pwd=AEoTnuXeRzTw4fTU7ocLTDL1yEF5YI.1
                  One tap mobile: +16468287666, 1617910049 US (New York) Meeting ID: 161 791 0049
                  Passcode: 951302 (Entered: 05/08/2025)
05/08/2025 126 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Telephone Conference held
               on 5/8/2025. Monica Allard, Esq. present for petitioner. Michael Drescher, AUSA present for
               respondent. Statements by counsel re: bail hearing. (Court Reporter: Johanna Masse) (law)
               (Entered: 05/08/2025)
05/08/2025 127 ORDER granting 121 Motion to Withdraw as Attorney. Signed by Judge William K. Sessions III
               on 5/8/2025. (This is a text−only Order.) (eae) (Entered: 05/08/2025)
05/08/2025 128 SECOND REVISED NOTICE of Hearing: Bail Hearing reset for 5/9/2025 10:00 AM in Burlington
               Courtroom 110 before Judge William K. Sessions III. (Note: petitioner to participate remotely)
               (law) Text clarified and Main Document 128 replaced on 5/8/2025 (law). (Entered: 05/08/2025)
05/08/2025 129 ZOOM LINK for 5/9/2025 − ZoomGov Meeting
               https://vt−uscourts.zoomgov.com/j/1616772338?pwd=MHR2awlyeIgo0KHqU7VbgUx53LmzJe.1
               or One tap mobile: +16468287666, 1617910049 US (New York); Meeting ID: 161 677 2338
               Passcode: 238539. (law)

                  Please be reminded that Judicial Conference policy prohibits the broadcasting of proceedings in
                  federal courts. Persons granted remote access to proceedings are reminded of the general
                  prohibition against photographing, recording, or rebroadcasting of court proceedings pursuant to
                  Judicial Conference policy. This prohibition applies to counsel, the parties, the media and any
                  member of the public. Violation of these prohibitions may result in sanctions, including removal of
                  court issued media credentials, restricted entry to future hearings, denial of entry to future hearings,
                  or any other sanctions deemed necessary by the court. (Entered: 05/08/2025)
05/09/2025 130 MINUTE ENTRY for proceedings held before Judge William K. Sessions III: Bail Hearing held on
               5/9/2025. Adriana Lafaille, Jessie Rossman, Julian Bava, Lia Ernst, Monica Allard, Mudassar
               Toppa, Noor Zafar and Richael Davidson, Esqs. present for petitioner. Mahsa Khanbabai, Esq.
               present with petitioner remotely. Michael Drescher, AUSA present for respondents. Court inquires
               petitioner's waiver of personal appearance. The following witnesses examined for petitioner:
               Rumeysa Ozturk, Dr. McCannon, S. Johnson, and B. Penberthy. Statements by counsel. Court
               makes findings. ORDERED: petitioner to be released immediately on PR w/conditions; gov't is to
               notify the court when she is released; gov't to submit proposed order as to conditions of release
               after conferring with ICE. (Court Reporter: Johanna Masse) (law) (Entered: 05/09/2025)
05/09/2025 131 ORDER: Petitioner is to be released from ICE custody immediately on her own recognizance,
               without any form of Body−Worn GPS or other ICE monitoring at this time. Petitioner is not subject
               to any travel restrictions. Respondents counsel shall submit proposed conditions of release after
               conferring with ICE no later than 5/12/2025. Signed by Judge William K. Sessions III on 5/9/2025.
               (hbc) (Entered: 05/09/2025)
05/12/2025 132 TRANSCRIPT of Bail hearing held on May 9, 2025, before Judge William K. Sessions III. Court
               Reporter/Transcriber Johanna Masse, telephone number (802) 951−8102. Transcript may be
               viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the
               deadline for Release of Transcript Restriction. After that date it may be obtained through PACER.
               Redaction Request due 6/5/2025. Redacted Transcript Deadline set for 6/16/2025. Release of
               Transcript Restriction set for 8/14/2025. (law) (Entered: 05/12/2025)
05/12/2025 133 REQUEST for Conditions of Release filed by Patricia Hyde, Michael Krol, Donald J Trump,
               Marco A. Rubio, Todd Lyons, Kristi Noem. (Attachments: # 1 Exhibit 1, # 2 Proposed
               Order)(Drescher, Michael) Text clarified on 5/12/2025 (law). (Entered: 05/12/2025)
05/12/2025 134 STIPULATED MOTION for Status Conference filed by Rumeysa Ozturk. (Allard, Monica)
               (Entered: 05/12/2025)
05/13/2025 135 UNOPPOSED MOTION to Redesignate Case filed by Rumeysa Ozturk. (Allard, Monica) Text
               clarified on 5/13/2025 (law). (Entered: 05/13/2025)
05/13/2025 136 DECLARATION of Becky Penberthy by Becky Penberthy. (Allard, Monica) (Entered:
               05/13/2025)
05/14/2025 137 NOTICE of Hearing: Telephone Conference set for 5/15/2025 01:30 PM before Judge William K.
               Sessions III.(law) (Entered: 05/14/2025)
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05/14/2025 138 RESPONSE in Opposition re 133 REQUEST for Conditions of Release filed by Rumeysa Ozturk.
               (Allard, Monica) (Entered: 05/14/2025)
05/15/2025 139 MINUTE ENTRY for proceedings held before Judge William K. Sessions III: Telephone
               Conference held on 5/15/2025. Adriana Lafaille, Esq. present for petitioner and Michael Drescher,
               AUSA present for respondents. Court reviews proposed release conditions. Statements by counsel
               re: briefing schedule. ORDERED: petitioner to file briefing on discovery within 30 days and gov't
               to respond within 10 days; hearing on 5/22/2025 is cancelled; and granting 135 Unopposed Motion
               to Redesignate Case. (Court Reporter: Johanna Masse) (law) (Entered: 05/15/2025)
05/16/2025 140 OPINION AND ORDER granting 82 Motion for Release Under MAPP v. RENO. Signed by Judge
               William K. Sessions III on 5/16/2025. (law) (Entered: 05/16/2025)
05/16/2025 141 ORDER granting in part and denying in part 133 Request for Conditions of Release. Signed by
               Judge William K. Sessions III on 5/16/2025. (law) (Entered: 05/16/2025)
05/22/2025 142 UNOPPOSED MOTION for Appearance Pro Hac Vice of Michael Tan (Filing fee $ 150 receipt
               number AVTDC−2079505) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of Michael Tan,
               # 2 Certificate of Good Standing) (Ernst, Lia) Modified on 5/22/2025 to clarify text/attachment
               (sjl). (Entered: 05/22/2025)
05/23/2025 143 ORDER granting 142 Motion for Admission Pro Hac Vice of Michael K.T. Tan. Signed by Judge
               William K. Sessions III on 5/23/2025. (This is a text−only Order.) (eae) (Entered: 05/23/2025)
05/23/2025 144 TRANSCRIPT filed for date(s) of 5/15/2025 before Judge William K. Sessions III as to 105 Notice
               of Appeal. Court Reporter/Transcriber Johanna Masse, telephone number (802) 951−8102.
               Transcript may be viewed at the court public terminal or purchased through the Court
               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER Redaction Request due 6/16/2025. Redacted Transcript Deadline
               set for 6/26/2025. Release of Transcript Restriction set for 8/25/2025. (hbc) (Entered: 05/23/2025)
05/23/2025 145 MOTION for Preliminary Injunction Requiring Restoring SEVIS Record with Request for Oral
               Argument/Hearing filed by Rumeysa Ozturk (Attachments: # 1 Declaration of Anna Garson, # 2
               Declaration of Dahlia M. French)(Lafaille, Adriana) (Attachment 1 replaced and Additional
               attachment(s) added on 5/27/2025: # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7
               Exhibit 5) (law). (Entered: 05/23/2025)
05/27/2025 146 NOTICE OF DOCKET ENTRY CORRECTION re: 145 MOTION for Preliminary Injunction
               Requiring Restoring SEVIS Record filed by Rumeysa Ozturk. The Declaration of Anna Garson was
               uploaded with its exhibits as a singular PDF. The documents have been broken apart and reattached
               on the docket. They are now separately attached to 145 and this entry. (Attachments: # 1 Exhibit 1,
               # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5) (law) (Entered: 05/27/2025)
